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                                 UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF IDAHO


Re:                                                         Case No. 18-40715-JMM

FERRIE, KENNETH L
                                                            CHAPTER 7 TRUSTEE’S INITIAL STATUS
                                                            REPORT AND MINUTES OF 341(a) MEETING
                         Debtor(s)                          OF CREDITORS


DATE OF 341(a) MEETING: 1/14/19                          LOCATION OF MEETING: JEROME
NAME OF TRUSTEE: Gary L. Rainsdon                        DATE CASE FILED: 08/15/2018
RECORDING TRACK NO. 7,9

DEBTOR (X) SWORN AND EXAMINED ( ) DID NOT APPEAR ( ) APPEARED
DEBTOR ADDRESS CHANGE:
DEBTOR ATTORNEY: (X) PRESENT ( ) NOT PRESENT ( ) PRO SE
      Youngblood, Kameron M
CREDITORS APPEARING ( ) NONE

ACTION ITEMS
 ( )  341(a) Meeting Continued to:
 ( )  SS Information Incorrect or Missing
 (X)  Concluded
 ( )  Dismiss for Failure of Debtor and/or Attorney to Appear
 (X)  Discharge Information Given to Debtor
 ( )  Unscheduled Assets Identified
 ( )  Do Not Dismiss – Trustee Intends to Pursue Assets – Trustee will file complaint to deny or revoke
      discharge, if necessary

GENERAL COMMENTS
 (X) Debtor Identity and Social Security Documentation Match Petition
 (X) Debtor Examined
 (X) Schedules and Statement of Affairs Filed
 (X) Statement of Income and Expenditures Filed
 (X) Debtor Informed of Failure to Cooperate with Trustee or U.S. Trustee or Submit Required Reports
     Constitute Grounds for Dismissal
 (X) Debtor Read and Understands Both Statement of Information Required by 11 U.S.C 341 and Statement
     Furnished by Gary L. Rainsdon, Trustee


                                                   /s/
                                                   GARY L. RAINSDON, TRUSTEE
